 Case: 4:07-cr-00050-HEA          Doc. #: 523 Filed: 06/10/08           Page: 1 of 1 PageID #:
                                            1709



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )      No. 4:07CR50 HEA
                                              )
JOHN BOWMAN,                                  )
                                              )
       Defendant.                             )

                                             ORDER

       This matter is before the Court on Defendant’s Motion to Amend Conditions of Probation

[Doc. #518]. The Court agrees to modify the conditions of probation to allow for a more lenient

restitution payment schedule.

       Accordingly,

       IT IS HEREBY ORDERED that the motion is granted as to the method of payment of

restitution only. The defendant will be required to make regular monthly restitution payments

toward the outstanding balance of his financial responsibility herein in the amount of $350.00 per

month until the outstanding balance is paid in full. All payments are due by the eighteenth day of

each succeeding month until the obligation has been satisfied. The financial obligation herein

must be fully satisfied before the expiration of the probationary period previously imposed.

       Dated this 10th day of June, 2008.




                                              ________________________________
                                                 HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE
